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                              UNITED STATES DISTRICT COURT FOR
                                  THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               )
                                                        )
                                Plaintiff,              )       8:07CR264
                                                        )
                        vs.                             )       FINAL ORDER OF
                                                        )       FORFEITURE
                                                        )
TIMOTHY NOER,                                           )
                                                        )
                                Defendant.              )


        NOW ON THIS 27th day of November, 2007, this matter comes on before the Court upon

the United States’ Motion for Final Order of Forfeiture and Memorandum Brief. The Court reviews

the record in this case and, being duly advised in the premises, find as follows:

        1. On September 18, 2007, the Court entered a Preliminary Order of Forfeiture pursuant to

the provisions of Title 21, United States Code, Sections 846 and 853, based upon the Defendant's

plea of guilty to Counts I and III of the Indictment filed herein. By way of said Preliminary Order

of Forfeiture, the Defendant’s interest in $2,000.00 in United States currency was forfeited to the

United States.

        2. On October 11, 18 and 25, 2007, the United States published in a newspaper of general

circulation notice of this forfeiture and of the intent of the United States to dispose of the property

in accordance with the law, and further notifying all third parties of their right to petition the Court

within the stated period of time for a hearing to adjudicate the validity of their alleged legal

interest(s) in said property. An Affidavit of Publication was filed herein on November 23, 2007

(Filing No. 40).
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       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.

       4. The Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

       B. All right, title and interest in and to the $2,000.00 in United States currency, held by any

person or entity, is hereby forever barred and foreclosed.

       C. The $2,000.00 in United States currency, be, and the same hereby is, forfeited to the

United States of America .

       D. The United States Marshal for the District of Nebraska is directed to dispose of said

property in accordance with law.

       ORDERED this 27th day of November, 2007.


                                              BY THE COURT:


                                              s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON, CHIEF JUDGE
                                              United States District Court
